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STATE OF INDIANA ) IN THE DELAWARE CIRCUIT COURT NO, 2

) SS:
COUNTY OF DELAWARE ) CAUSE NUMBER: 18D02-9204-CF-46

FILED
DELAWARE CIRCUIT COURT NO. 2
DELAWARE COUNTY, INDIANA

MAY 0 3 2017

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STATE OF INDIANA

VS

WILLIAM BARNHOUSE

 

STATE OF INDIANA’S MOTION TO DISMISS

 

COMES NOW the State of Indiana, by and through counsel, Eric M.
Hoffman, Chief Deputy Prosecutor within and for the 46th Judicial Circuit, State
of Indiana, and moves the Court to dismiss the above-entitled cause of action
without prejudice for the following reason(s), to wit:

1. On December 15, 1992, the Defendant was convicted of one Count
of Rape and one Count of Criminal Deviate Conduct, arising from the April 21,
1992 rape of the victim P.L. On both counts, the jury found him guilty but
mentally ill,

2. During the investigation stage of this case, the victim went to the
hospital where a sexual assault kit and the jeans she was wearing were
collected. Those items were sent to the Indiana State Police lab for analysis. At
trial, the State presented expert testimony of a forensic serologist from the
Indiana State Police crime lab. The expert testified that he observed sperm on

the victim’s vaginal and cervical swabs and semen in the inside crotch area of

 
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her jeans. However, given the point in history that the trial occurred, the
technology of DNA analysis was not available.

3. In January of 2016, with the consent of the Delaware County
Prosecutor's Office, the Delaware Circuit Court entered an Agreed Order for Post-
Conviction DNA Testing in this case. Under the terms of that Order, the victim’s
sexual assault kit and jeans were subjected to post-conviction DNA testing. The
testing was conducted in contemplation of filing a petition for post-conviction relief
pursuant to ind. Code § 35-38-7-5.

4, In 2016, DNA testing identified the male DNA profile of the sperm on
the victim's jeans. The same male profile was identified on the sperm found on the
victim’s vaginal and cervical swabs. A representative of the Muncie Police
Department collected a new buccal (saliva) sample from the Defendant. The
unknown male DNA profile was compared to the Defendant's DNA profile. The
Defendant was excluded as the source of the sperm qn the victim’s jeans and the
victim’s vaginal swabs.

5. The results of post-conviction DNA testing are favorable to the
Defendant within the meaning of § 35-38-7-19. The DNA test results prove that
the sperm on the victim's jeans and the sperm on the victim’s vaginal swabs —
which the State argued at trial was deposited by the perpetrator — did not come
from the Defendant. Accordingly, the State and the Defendani jointly petitioned

the Court to vacate the Defendant's convictions and set the matter for a new trial.

The Court granted said joint motion.

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6. The State has diligently reviewed the case, the evidence, and the
law applicable to the case.

7. There is no way to determine when the sperm was deposited in and
on the victim. For example, the sperm could have been deposited via consensual
sex shortly before she was raped. Conversely, the sperm could have been
deposited during the rape. At this time, the State is unable to scientifically
determine whether the sperm from the unknown male was deposifed at a point in
time prior to the rape or during the rape itself. The fact remains that the sperm on
the victim’s vaginal and cervical swabs and semen in the inside crotch area of
her jeans belongs to an unknown male, not the Defendant.

8. The unknown male DNA in this case, has been searched against
known profiles in the Combined DNA Index System (CODIS). The CODIS
database contains known DNA profiles of individuals convicted of certain crimina!
offenses. This search has been performed on a routine basis since December
16, 2016. As of the date of the filing of this Motion, there has yet to be a match.

9. Consequently, given all of the aforementioned facts and
circumstances, the State has determined that should this case proceed to re-trial,
the State will not be able to prove the Defendant's guilt beyond a reasonable
doubt. Accordingly, dismissal is in the best interests of justice.

10. The State has discussed this matter with the victim and she has
indicated that understands the situation and further understands the State's

decision to dismiss this case.
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WHEREFORE the State of Indiana respectfully requests the Court dismiss
this cause of action without prejudice and for all other just and proper relief in the

premises.

Respectfully submitted,

LG Cz
Eric M. Hoffman # 24232-18

Chief Deputy Prosecutor:
46" Judicial Circuit of Indiana

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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a copy of the foregoing has

been served on the following counsel of record via electronic mail on or before
the date of filing herein:

Seema Saifee

Fran Watson

tic M. Hoffman
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STATE OF INDIANA ) IN THE DELAWARE CIRCUIT COURT NO. 2
) SS:
COUNTY OF DELAWARE ) CAUSE NUMBER: 18D02-9204-CF-46

STATE OF INDIANA

VS

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WILLIAM BARNHOUSE

ORDER ON MOTION TO DISMISS
COMES NOW the State of Indiana, by counsel Eric M. Hoffman, and
having filed its Motion to Dismiss, and the Court, having read and examined said
Motion and having been duly advised in the premises, now finds that said Motion

should be and hereby is GRANTED.

IT IS THEREFORE ORDERED ADJUDGED AND DECREED by the
Court that the above-entitled cause of action be DISMISSED without prejudice.

SO ORDERED this __ day of , 2017.

 

KIMBERLY S. DOWLING, JUDGE
DELAWARE CIRCUIT COURT NO. 1

DISTRIBUTION:

Eric Hoffman FILED
DELAWARE CIRCUIT COURT NO. 2
DELAWARE COUNTY, INDIANA

MAY 09 2017

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Frances Watson
